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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                        ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                      2:14-cr-00353-GMN-GWF
                                                            ORDER
7     vs.

8     CHAYPHET VORAVONG,

9                            Defendant.

10

11            Before the court is Defendant's Motion to Reopen Detention Hearing (#76).

12            IT IS HEREBY ORDERED that a hearing pursuant to Title 18 U.S.C § 3142 (f) on Defendant's

13   Motion to Reopen Detention Hearing (#76) is scheduled for 3:00 p.m., Friday, July 24, 2015, in courtroom

14   3D.

15            IT IS FURTHER ORDERED that any opposition to Defendant's Motion to Reopen Detention

16   Hearing (#76) must be filed on or before Tuesday, July 21, 2015. No reply necessary.

17            The U.S. Marshal is directed to transport defendant to and from the hearing.

18            DATED this 14th day of July, 2015.

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21                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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